       Case 5:12-cv-00777-MAD-DEP Document 128 Filed 12/29/17 Page 1 of 1



UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

NICK'S GARAGE, INC.,
                                       Plaintiff,                                NOTICE OF APPEARANCE
            v.
                                                                                 Civil Action No.: 12-cv-777
PROGRESSIVE CASUALTY INSURANCE COMPANY,                                                            (MAD/DEP)
NATIONAL CONTINENTAL INSURANCE COMPANY,
PROGRESSIVE ADVANCED INSURANCE
COMPANY, PROGRESSIVE DIRECT INSURANCE
COMPANY, PROGRESSIVE MAX INSURANCE
COMPANY, PROGRESSIVE NORTHERN
INSURANCE COMPANY, PROGRESSIVE
PREFERRED INSURANCE COMPANY,
PROGRESSIVE SPECIALTY INSURANCE
COMPANY,
                    Defendants.

To: The clerk of the court and all parties of record

         PLEASE TAKE NOTICE that I, the undersigned am admitted or otherwise authorized

to practice in this court, and I appear in the above-referenced matter as co-counsel for the

Plaintiff, Nick's Garage Inc.

Dated: December 29, 2017                                      BOUSQUET HOLSTEIN PLLC

                                                               sf Casey A. Johnson, Esq.
                                                              Casey A. Johnson, Esq., Bar Number: 518923
                                                              Attorneys for Plaintiff
                                                              110 W. Fayette St., Suite 1000
                                                              Syracuse, New York 13202
                                                              Tel: (315) 422-1500
                                                              Fax: (315) 422-3549
                                                              Email: cjohnson@bhlawpllc.com

3205350_1.docx




        Bousquet Holstein PLLC • 110 West Fayette Street, Suite l 000 • Syracuse, New York 13202 • (315) 422-1500
